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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF GEORGIA



Timothy Brown, Ronnie Suveg, Joseph                 Civil Action No.:
Bobertz, Clifford Potters, Stacey Richards,
Warren Washburn, Nancy Youngermann, and
John Braxton, on behalf of themselves and all
others similarly situated,

                       Plaintiffs,

               vs.

United Parcel Service of America, Inc., the
Administrative Committee of the UPS                 CLASS ACTION COMPLAINT
Retirement Plan, and the Board of Trustees of
the UPS Pension Plan,

                        Defendants.


       Timothy Brown, Ronnie Suveg, Joseph Bobertz, Clifford Potters, Stacey Richards,

Warren Washburn, Nancy Youngermann, and John Braxton (collectively, “Plaintiffs”), by

and through their attorneys, on behalf of themselves and all others similarly situated, based

on personal knowledge with respect to their own circumstances, and based upon

information and belief pursuant to the investigation of their counsel as to all other

allegations, allege the following:

                                      INTRODUCTION

       1.       This is a class action against United Parcel Service of America, Inc. (“UPS”

or the “Company”), the Administrative Committee of the UPS Retirement Plan

(“Retirement Plan Committee”), and the Board of Trustees of the UPS Pension Plan


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(“Board of Trustees”) (collectively, the “Defendants”), concerning the failure to pay joint

and survivor annuity (“JSA”) benefits under the UPS Retirement Plan (“Retirement Plan”)

and the UPS Pension Plan (“Pension Plan”) (collectively, the “Plans”) in amounts that

satisfy the actuarial equivalence requirements in the Employee Retirement Income Security

Act of 1974, 29 U.S.C. § 1001, et seq. (“ERISA”). By failing to pay JSA benefits in

amounts that are actuarially equivalent to the single life annuities (“SLAs”) offered to

participants, Defendants are causing retirees to lose part of their vested retirement benefits

in violation of ERISA.

       2.        UPS is one of the largest employers in the United States and sponsors

several defined benefit pension plans. Following their establishment, the Plans have been

maintained by UPS (and other entities within its control group) for the benefit of the

Company’s employees to help them save for retirement.

       3.       Under the Plans, participants earn retirement benefits in the form of a single

life annuity (“SLA”), a monthly payment for the rest of their lives when they retire. The

Plans also offer participants the option of receiving their benefits in forms other than an

SLA, including a number of JSAs. A JSA is an annuity for the life of the participant with

a contingent annuity for the life of the participant’s beneficiary (usually a spouse), which

is typically expressed as a percentage. Thus, a 50% JSA is a JSA that pays the spouse half

of the amount that was paid to the participant before his or her death; a 75% JSA pays the

spouse three quarters.

       4.       The monthly benefit payable as a JSA, regardless of the percentage, will be

less than the amount payable as an SLA because the JSA must account for the likelihood

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that the plan will have pay benefits for a longer period if a participant dies before the

spouse. However, ERISA limits the amount that JSA benefits can be reduced. Under

ERISA § 205(d), JSA benefits that pay between 50% to 100% of the amount paid during

the joint lives of the participant and spouse (“Qualified Joint and Survivor Annuities” or

“QJSAs”) must be at least the actuarial equivalent of the SLA. Two benefit options are

actuarially equivalent when they have the same present value, so long as the present values

of both benefits are calculated using the same, reasonable actuarial assumptions.

       5.       Calculating present value requires inputting actuarial assumptions

concerning mortality and interest rates. Mortality rates for the participant (and, in the case

of a JSA, the participant’s beneficiary) predict how long the participant and beneficiary

will live to account for the likelihood of each future benefit payment being made. Over

the last several decades, mortality rates have generally improved with advances in medicine

and better collective lifestyle habits. People who retired recently are expected to live longer

than those who retired in previous generations. Older mortality tables predict that people

near (and after) retirement age will die at a faster rate than current mortality tables. As a

result, using an older mortality table to calculate a conversion factor decreases the present

value of a JSA and — interest rates being equal — the monthly payment retirees receive.

       6.       The interest rate assumption addresses the time value of money — the idea

that a dollar in the hand today is worth more than a dollar paid in a year, or in ten years —

and is used to discount the value of expected future payments to the present. Like mortality,

the interest rate also affects the calculation. Using lower interest rates — mortality rates

being equal — decreases the present value of benefits in forms other than an SLA.

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       7.       Mortality and interest rate assumptions, together, generate a “conversion

factor,” which is expressed as a fraction of the comparator benefit. If a plan’s conversion

factor for JSA benefits, relative to either the SLA or a more valuable benefit form, is lower

than the conversion factor that would be generated from reasonable actuarial assumptions

about mortality and interest rates, then the JSA will not be “actuarially equivalent” to the

SLA (or more valuable benefit form). Accordingly, the actuarial assumptions used in the

conversion factor directly impact the amount of benefits that participants and their

beneficiaries receive each month.

       8.       Defendants calculate the conversion factor and, therefore, the value of the

JSAs offered to participants, using decades-old mortality assumptions, which, in turn,

produces benefits that are not actuarially equivalent to the SLA. By using mortality tables

based on data from the 1960s through the 1980’s, Defendants depress the present value of

JSA benefits (relative to the SLA) resulting in monthly payments that are materially lower

than they would be if Defendants used reasonable, up-to-date actuarial assumptions. In

sum, Defendants are causing Plaintiffs and Class Members to receive less than they should

as a pension each month, which will continue to affect them throughout their retirements.

       9.       Defendants’ use of outdated mortality assumptions to pay JSA benefits is

particularly egregious because the Company uses current, updated actuarial assumptions

to calculate the Plans’ liabilities, which are reported in the Company’s audited financial

statements and disclosed to investors in public filings.

       10.      Plaintiffs seek an order from the Court (1) declaring that the actuarial

assumptions used to calculate JSA benefits under the Plans produce benefits that are less

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than the actuarial equivalent of the SLA offered to participants; (2) requiring Defendants

to pay all amounts improperly withheld in the past and to be withheld in the future; (3)

requiring Defendants to recalculate Plaintiffs’ JSA benefits in a manner consistent with

ERISA’s actuarial equivalence requirements; (4) requiring Defendants to increase the

amounts of Plaintiffs’ future benefit payments; and (5) such other relief as the Court

determines to be just and equitable.

                             JURISDICTION AND VENUE

       11.    This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because it is a civil action arising under the laws of the United States, and

pursuant to 29 U.S.C. § 1332(e)(1), which provides for federal jurisdiction of actions

brought under Title I of the ERISA.

       12.    This Court has personal jurisdiction over Defendants because they transact

business in, or reside in, and have significant contacts with this District, and because

ERISA provides for nationwide service of process. Defendant UPS is headquartered in

this District and, upon information and belief, the Retirement Plan Committee, Board of

Trustees, and their respective members are also based in this District.

       13.    Venue is proper in this District pursuant to ERISA § 502(e)(2), 29 U.S.C.

§ 1132(e)(2), because some or all the violations of ERISA occurred in this District and

Defendants may be found in this District. Venue is also proper in this District pursuant to

28 U.S.C. § 1391 because UPS does business in this District and a substantial part of the

events or omissions giving rise to the claims asserted herein occurred within this District.



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                                       PARTIES

      Plaintiffs

      14.    Plaintiff Timothy Brown is a Participant in the Retirement Plan who worked

for UPS for over 31 years. He began collecting benefits under the Retirement Plan in 2014

and is currently receiving a 100% JSA, with his spouse as the beneficiary.

      15.    Plaintiff Ronnie Suveg is a Participant in the Retirement Plan who worked

for UPS for over 25 years. He began collecting benefits under the Retirement Plan in 2014

and is currently receiving a 75% JSA, with his spouse as the beneficiary.

      16.    Plaintiff Joseph Bobertz is a Participant in the Retirement Plan who worked

for UPS for over 34 years. He began collecting benefits under the Retirement Plan in 2018

and is currently receiving a 50% JSA, with his spouse as the beneficiary.

      17.    Plaintiff Clifford Potters is a Participant in the Retirement Plan who worked

for UPS for over 30 years. He began collecting benefits under the Retirement Plan in 2018

and is currently receiving a 100% JSA, with his spouse as the beneficiary.

      18.    Plaintiff Stacey Richards is a Participant in the Retirement Plan who worked

for UPS for over 32 years. She began collecting benefits under the Retirement Plan in

2018 and is currently receiving a 50% JSA, with her spouse as the beneficiary.

      19.    Plaintiff Warren Washburn is a Participant in the Retirement Plan who

worked for UPS for over 32 years. He began collecting benefits under the Retirement Plan

in 2019 and is currently receiving a 50% JSA, with his spouse as the beneficiary.




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       20.    Plaintiff Nancy Youngermann is a Participant in the Pension Plan who

worked for UPS for over 37 years. She began collecting benefits under the Pension Plan in

2015 and is currently receiving a 75% JSA, with her spouse as the beneficiary.

       21.    Plaintiff John Braxton is a Participant in the Pension Plan who worked for

UPS for over 12 years until 1991. He began collecting benefits under the Pension Plan in

2013 and is currently receiving a 50% JSA, with his spouse as the beneficiary.

PlaintiffBraxton did not know, nor did he have any reason to know that his benefits under

the Pension Plan were not actuarially equivalent to the SLA he accrued until shortly before

he initially filed suit in January 2020. Additionally, Defendants concealed this fact from

him.

       Defendants

       22.    UPS is a global package delivery company, providing logistical services that

include transportation, distribution, and freight.    The Company’s headquarters and

principal place of business is Atlanta, Georgia, and it conducts business throughout the

United States. UPS sponsors the Plans and the Company’s Board of Directors has the right

to amend or terminate them.      See Retirement Plan Document, § 7.1; Pension Plan

Document, § 10.1.

       23.    Upon information and belief, the Retirement Plan Committee and Board of

Trustees are unincorporated associations based in Atlanta, Georgia. The Retirement Plan

Committee is the named fiduciary and the Plan Administrator of the Retirement Plan within

the meaning of ERISA §§402(a)(2) and 3(16)(A), , 29 U.S.C. §§1102(a)(2) and

1002(16)(A). See Retirement Plan Document, § 9.1. The Board of Trustees is the named

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fiduciary and the Plan Administrator of the Pension Plan, within the meaning of those same

ERISA provisions. See Pension Plan Document, §§ 1.52 and 11.1.

                      APPLICABLE ERISA REQUIREMENTS

                Pension Benefit Options Must Be Actuarially Equivalent

       24.    ERISA requires that defined benefit plans pay married participants and their

beneficiaries in the form of a qualified JSA (a “QJSA”) unless the participant, with the

consent of his or her spouse, elects an alternative form of payment. This makes the QJSA

the default benefit for employees who are married. See ERISA § 205(a) and (b), 29 U.S.C.

§ 1055(a) and (b).

       25.    ERISA defines a QJSA as an annuity for the life of the plan participant with

a survivor benefit for the life of the spouse that is not less than 50%, and not greater than

100% of the annuity payable during the joint lives of the participant and the spouse. ERISA

§ 205(d)(1), 29 U.S.C. § 1055(d)(1). Accordingly, a plan can offer multiple QJSA options;

that is, JSAs that pay survivor benefits between 50% to 100%. Id. The definition of a QJSA

includes “any annuity in a form having the effect of an annuity” described in ERISA §

205(d)(1). Id. A QJSA must be actuarially equivalent to an SLA. See 29 U.S.C. §

1055(d)(1); 26 U.S.C. § 417(b). If a plan offers benefit options that are more valuable than

the SLA, the QJSA must be at least as valuable as the most valuable form of benefit. See

id.; see also 26 U.S.C. § 417(b).

       26.    Pension plans must also offer participants at least one other form of survivor

annuities, known as qualified optional survivor annuities (“QOSA”).           See ERISA §

205(d)(2), 29 U.S.C. § 1055(d)(2); see also 26 U.S.C. § 417(g). A QOSA is similar to a

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QJSA, except that the QOSA’s survivor annuity percentage must be: (a) greater than 75%

if the QJSA’s survivor annuity percentage is less than 75%; and (b) 50% if the QJSA’s

survivor annuity percentage is greater than 75%. The definition of a QOSA includes “any

annuity in a form having the effect of an annuity” described in ERISA § 205(d)(2). ERISA

requires that QOSAs be actuarially equivalent to an SLA. See ERISA § 205(d)(2)(A)(ii),

29 U.S.C. § 1055(d)(2)(A)(ii).

       27.    ERISA also requires that defined benefit plans provide a qualified pre-

retirement survivor annuity (“QPSA”). ERISA § 205(a)(2), 29 U.S.C. § 1055(a)(2). A

QPSA is an annuity for the life of the vested participant’s surviving spouse (i.e., a

beneficiary) if the participant dies before reaching the plan’s normal retirement age.

ERISA § 205(e), 29 U.S.C. § 1055(e). A QPSA must be actuarially equivalent to what the

surviving spouse would have received under the plan’s QJSA. See ERISA § 205(e)(1)(A),

29 U.S.C. § 1055(e)(1)(A).

       28.    Reorganization Plan No. 4 of 1978 transferred authority to the Secretary of

the Treasury to issue regulations for several provisions of ERISA, including § 205, which

concerns alternative forms of benefits. See 92 Stat. 3790 (Oct. 17, 1978), codified at 29

U.S.C. § 1001.

       29.    The Treasury regulations for the Internal Revenue Code (the “Tax Code”)

provision corresponding to ERISA § 205 (26 U.S.C. § 401(a)(11)) provide that a QJSA

“must be at least the actuarial equivalence of the normal form of life annuity or, if greater,




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of any optional form of life annuity offered under the plan.” 1 Indeed, a QJSA “must be as

least as valuable as any other optional form of benefit under the plan at the same time.” 26

C.F.R. § 1.401(a)-20 Q&A 16; see 26 C.F.R. § 1.417(a)(3)-1(c)(2)(iv) (“All other optional

forms of benefit payable to the participant must be compared with the QJSA using a single

set of interest and mortality assumptions that are reasonable and that are applied uniformly

with respect to all such optional forms payable to the participant . . . .”). The regulations

regarding QJSAs apply “when the participant attains the earliest retirement age under the

plan.” 26 C.F.R. § 1.401(a)-20 Q&A 17.

       30.     ERISA does not require that pension plans offer lump sum distributions of

vested benefits to retirees upon their retirement. See ERISA § 205(g), 29 U.S.C. § 1055(g).

However, if plans offer a lump sum distribution as an optional benefit, ERISA § 205(g)(3),

29 U.S.C. § 1055(g)(3), requires the present value of the lump sum be determined using

the applicable mortality table (the “Treasury Mortality Table”) 2 and applicable interest rate

(the “Treasury Interest Rate”) 3 (collectively, the “Treasury Assumptions”), which are set

by the Secretary of the Treasury (the “Secretary”) pursuant to IRC §§ 417(e) and 430(h)




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         26 C.F.R. § 1.401(a)-11(b)(ii)(2). The term “life annuity” includes annuities with terms
certain in addition to single life annuities. As the Treasury Regulations explain, “[t]he term ‘life
annuity’ means an annuity that provides retirement payments and requires that survival of the
participant or his spouse as one of the conditions for payment or possible payment under the
annuity. For example, annuities that make payments for 10 years or until death, whichever occurs
first or whichever occurs last, are life annuities.” 26 C.F.R. § 1.401(a)-11(b)(1)(i).
2
       See 26 C.F.R. § 1.430(h)(2)-1.
3
       See 26 C.F.R. § 1.430(h)(3)-1.
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and are based on current market rates and mortality assumptions.                  See 29 U.S.C.

§ 1055(g)(3)(B); 29 U.S.C. § 1083(h), 26 U.S.C. §§ 417(e) and 430(h).

       31.     ERISA § 203(a), 29 U.S.C. § 1053(a), provides that an employee’s right to the

vested portion of his or her normal retirement benefit is non-forfeitable. ERISA § 204(c)(3), 29

U.S.C. § 1054(c)(3), provides that if an employee’s accrued benefit is in the form other than an

SLA, the accrued benefit “shall be the actuarial equivalent” of an SLA.

       32.     The Treasury regulation for the Tax Code provision corresponding to ERISA § 203

(26 U.S.C. § 411), states that “adjustments in excess of reasonable actuarial reductions, can result

in rights being forfeitable.” 26 C.F.R. § 1.411(a)-4(a).

          Reasonable Factors Must Be Used When Calculating Actuarial Equivalence

       33.     “Two modes of payment are actuarially equivalent when their present values

are equal under a given set of assumptions.” Stephens v. US Airways Group, Inc., 644

F.3d 437, 440 (D.C. Cir. 2011) (emphasis added) (citing Jeff L. Schwartzmann & Ralph

Garfield, Education and Examination Comm. of the Society of Actuaries, Actuarially

Equivalent Benefits 1, EA1-24-91 (1991) (“Schwartzmann & Garfield”). 4

       34.     Under ERISA, “present value” must “reflect anticipated events.” Such

adjustments “shall conform to such regulations as the Secretary of the Treasury may

prescribe.” ERISA § 3(27), 29 U.S.C. § 1002(27). The Secretary has prescribed several

Regulations describing how present value should reasonably reflect anticipated events,

including:


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       According to Merriam Webster: “Equivalent” means “equal.” See https://www.merriam-
webster.com/dictionary/equivalent. “Equal” means the “same.” https://www.merriam-
webster.com/dictionary/equal
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             (a)     The Regulation concerning QJSAs provides that “[e]quivalence may

be determined, on the basis of consistently applied reasonable actuarial factors, for each

participant or for all participants or reasonable groupings of participants.” 26 C.F.R. §

401(a)-11(b)(2) (emphasis added).

             (b)    A plan must determine optional benefits using “a single set of interest

and mortality assumptions that are reasonable . . . .” 26 C.F.R. § 1.417(a)(3)-1(c)(2)(iv)

(emphasis added).

             (c)    The term actuarial present value means “actuarial present value

(within the meaning of § 1.401(a)(4)-12) determined using reasonable actuarial

assumptions.” 26 C.F.R. §1.411(d)-3(g)(1) (emphasis added).

             (d)    With respect to benefits under a lump sum-based formula, any

optional form of benefit must be “at least the actuarial equivalent, using reasonable

actuarial assumptions . . . .” 26 C.F.R. § 1.411(a)(13)-1(b)(3) (emphasis added).

      35.    The Regulations also rely on the standards of the Society of Actuaries (the

“SOA”) for determining the present value of pension liabilities. See, e.g., 26 C.F.R.

§ 1.430(h)(3)-1(a)(2)(C); IRS Notices: 2008-85, 2013-49, 2015-53, 2016-50, 2018-02; 82

Fed. Reg. 46388-01 (Oct. 5, 2017) (“Mortality Tables for Determining Present Value Under

Defined Benefit Plans”), 72 Fed. Reg. 4955-02 (Feb. 2, 2007) (“Updated Mortality Tables

for Determining Current Liability”).

      36.    Like the Regulations and ERISA’s definition of “ present value,” the

Actuarial Standards of Practice (“ASOPs”) issued by the Actuarial Standards Board



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(“ASB”) 5 of the American Academy of Actuaries (the “Academy”), require actuaries to

use “reasonable assumptions.”         See ASOP No. 2 7 , Para. 3.6 (“each economic

assumption used by an actuary should be reasonable”). See also ASOP No. 35,

Para. 3.3.5 (“Each demographic assumption selected by the actuary should be

reasonable”).

       37.      Courts interpreting ERISA’s actuarial equivalence requirements when

calculating benefits have stated that “special attention must be paid to the actuarial

assumptions underlying the computations.” Pizza Pro Equip. Leasing v. Comm. of

Revenue, 147 T.C. 394, 411 (emphasis added), aff’d, 719 Fed. Appx. 540 (8th Cir. 2018).

As the court explained in Dooley v. Am. Airlines, Inc., each actuarial assumption used to

calculate QJSAs, QOSAs and QPSAs must be reasonable:

                When the terms of a plan subject to ERISA provide that plan
                participants may opt to receive their accrued pension benefits in
                forms other than as a single life annuity, the amount payable to the
                plan participant under such circumstances must be “actuarially
                equivalent” to the participant’s accrued benefits when calculated as
                a single life annuity. T he term actuarially equivalent means equal
                in value to the present value of normal retirement benefits,
                determined on the basis of actuarial assumptions with respect to
                mortality and interest which are reasonable in the aggregate.

Dooley v. Am. Airlines, Inc., 1993 WL 460849, at *10 (N.D. Ill. Nov. 4, 1993) (emphasis

added); see also Dooley v. Am. Airlines, Inc., 797 F.2d 1447, 1453 (7th Cir. 1986) (citing




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        The ASB, an independent entity created by the Academy in 1988, serves as the single board
promulgating standards of practice for the entire actuarial profession in the United States. The
ASB was given sole authority to develop, obtain comment upon, revise, and adopt standards of
practice for the actuarial profession.
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expert testimony that “actuarial equivalence must be determined on the basis of reasonable

actuarial assumptions.”).

       38.    Actuarial equivalence should be “cost-neutral,” meaning that neither the plan

nor the participants should be better or worse off if a participant selects an SLA or a JSA.

See Bird v. Eastman Kodak Co., 390 F.Supp.2d 1117, 1118–19 (M.D. Fla. 2005).

“Periodically, the assumptions used [for actuarial equivalence] must be reviewed and

modified so as to insure that they continue to fairly assess the cost of the optional basis of

payment.” Schwartzmann & Garfield at 11; see also Smith v. Rockwell Automation, No.

19-CV-0505, 2020 WL 620221, * 7 (E.D. Wisc. Jan. 10, 2020) (“plans must use the kind

of actuarial assumptions that a reasonable actuary would use at the time of the benefit

determination.”).

                            SUBSTANTIVE ALLEGATIONS

   I. Applicable Terms of the Plans

       A.     The Retirement Plan

       39.    UPS established the Retirement Plan on September 1, 1961. See Retirement

Plan Document, § 1.1(y). Pursuant to ERISA § 402(a)(1), 29 U.S.C. § 1102(a)(1), the

Retirement Plan is established and maintained according to a written instrument (the

“Retirement Plan Document”).




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       40.     The Retirement Plan covers eligible employees of UPS and certain of its

subsidiaries, termed “Employer Companies.” 6           See Retirement Plan Document at §

1.01(aa) and at Appendix H. The Retirement Plan is an “employee pension benefit plan”

within the meaning of ERISA § 3(2)(A), 29 U.S.C. § 1002(2)(A), and a “defined benefit

plan” within the meaning of ERISA § 3(35), 29 U.S.C. § 1002(35).

       41.     Participants earn retirement benefits based on a percentage of their

compensation, how many years they worked for UPS, and a point system depending on

when their respective Employer Company began participating in the Retirement Plan

(“Final Average Pay Formula”). Retirement Plan Document, § 5.2. Under the Final

Average Pay Formula, participants earn benefits as an SLA. Id.

       42.     The Retirement Plan’s QJSA, and the default form of benefit for married

participants, is a 50% JSA. For unmarried participants, the default form of benefit is an

SLA for participants who began working for UPS after January 1, 1992, and a 10-year life

and certain annuity (“10YCLA”) if the participant started working for UPS before January

1, 1992. Id., § 1.1(rr). The Retirement Plan also offers a 75% JSA and a 100% JSA as

QOSAs. Id., § 5.04(d).

       43.     The Retirement Plan states that QJSAs and QOSAs are the “Actuarial

Equivalent of the Participant’s benefit payable in the Normal Form.” Id., § 5.04(d)(i).

       44.     The Retirement Plan defines the term “Actuarial Equivalent” as:

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        The Retirement Plan was closed to new non-union participants effective July 1, 2016.
Retirement Plan, Form 5500 (2020), Notes to Financial Statements at 4. Further, in the year ended
December 31, 2017, the Company amended the Retirement Plan to cease accruals of additional
benefits for future service and compensation for non-union participants effective January 1, 2023.
Id.
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                [A] benefit in the aggregate equality in value to the amounts expected
                to be received under the Normal Form of benefit based upon an
                interest rate of 6% and the 1983 GAM Mortality Table for Males for
                Participants and the 1983 GAM Mortality Table for Females for
                Beneficiaries and Alternate Payees. (“1983 GAM/6%”).

Id., § 1.1(b)(i).

       45.      UPS uses the 1983 GAM/6% to calculate the 10YCLA option for participants

in the “Retirement Plan for Employees of Overnite Transportation” (“Grandfathered

Overnite Participants”), which merged into the Retirement Plan. For the 50% and 100%

JSA options, however, Grandfathered Overnite Participants receive the greater of the

amount calculated using the 1983 GAM/6% or the UP 1984 Unisex Pension Mortality

Table and a 7% interest rate (“UP-84/7%). See Id., § 1.01(b)(ii)(B)(1).

       46.      UPS uses the 1983 GAM/6% to calculate the 10YCLA option for participants

in the “Motor Cargo Plan” (“Grandfathered Motor Cargo Participants”), which merged into

the Retirement Plan. For the 50% JSA, 100% JSA and 5YCLA, however, Grandfathered

Motor Cargo Participants receive the greater of the amount calculated using the 1983

GAM/6% or the UP 1984 Unisex Pension Mortality Table and an 8% interest rate (“UP-

84/8%”). Id., § 1.01(b)(ii)(C)(1).

       47.      Effective January 1, 2008, eligible employees hired, re-hired, or transferred

into the Retirement Plan accrued, and continue to accrue, benefits under a cash balance

formula called the “Portable Account Formula.” See id., § 5.3(g). Under the Portable

Account Formula, UPS contributes a percentage of the participant’s compensation to a

hypothetical account (“Portable Account”) in the Retirement Plan which accumulates

interest. Id.

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       48.    Participants who earn a benefit under a Portable Account Formula may

receive their benefits in a lump sum equal to the value of their Portable Account. See id.,

§ 5.4(h). They may also receive their benefits as an SLA, 50% JSA, 100% JSA and, if

eligible, any of the Retirement Plan’s other optional forms of benefits. Id. If participants

receive their benefits as an annuity, their Portable Account is first converted to an SLA

using the Treasury Assumptions. Id., § 5.4(h)(ii). If participants receive another form of

an annuity, including a 50% JSA, 75% JSA, or 100% JSA, the 1983 GAM/6% is used to

convert their SLA to these other forms. Id.; see also § 1.1(b)(i).

       B.     The Pension Plan

       49.    UPS established the Pension Plan on January 1, 1973.           Pension Plan

Document, opening recitals. In accordance with ERISA § 402(a)(1), 29 U.S.C. §

1102(a)(1), the Plan is established and maintained under a written instrument (the “Pension

Plan Document”).

       50.    The Pension Plan covers eligible employees of UPS and its subsidiaries and

affiliates that adopt the plan. The Pension Plan is an “employee pension benefit plan”

within the meaning of ERISA § 3(2)(A), 29 U.S.C. § 1002(2)(A), and a “defined benefit

plan” within the meaning of ERISA § 3(35), 29 U.S.C. § 1002(35).

       51.    Participants in the Pension Plan earn retirement benefits under a Final

Average Pay Formula as an SLA. See Pension Plan Document, §§ 3.3, 4.1.

       52.    The “normal form” of benefit for a single participant in the Pension Plan is

an SLA. See id., § 4.11(a). For married participants, the “normal form,” and the Pension



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Plan’s QJSA, is a 50% JSA, which the Plan Document states “shall be the Actuarial

Equivalent of [a participant’s SLA].” See id.

       53.    Participants can also receive their retirement benefits as a 75% JSA, 100%

JSA or a 10YCLA. See id., § 4.11(b). According to the Pension Plan Document, each

optional form of benefit “will be the Actuarial Equivalent to the Participant’s [SLA].” Id.

       54.    To convert the SLA to the QJSA or one of the forms of optional benefits for

participants hired after 2007, the Pension Plan uses the all-male 1983 GAM mortality table

for all participants and the all-female 1983 GAM mortality table for all beneficiaries and

a 6% interest rate. See id., § 1.1(a)(1). Participants hired before 2007 who worked for UPS

after 1990 who select a QJSA receive the greater of: (a) the amount calculated using the

1983 GAM/6%; or (b) 88% of the SLA during the life of the participant (with adjustments

for the age difference between the participant and the spouse). See id., § 1.1(a)(2)(i).

Participants hired before 2007 who worked for UPS after 1990 who select the 75% JSA,

100% JSA or a 10YCLA have their benefits calculated using the 1983 GAM/6%. Id.

       55.    For participants who are Grandfathered Overnite Participants or

Grandfathered Motor Cargo Participants, UPS uses the same actuarial assumptions as

described in ¶¶ 45–46, above.

   II. The Plans’ JSAs Do Not Satisfy ERISA’s Actuarial Equivalence Requirements

       A.     Actuarial Assumptions Used to Determine Actuarial Equivalence Must
              Be Reasonable as of the Date Benefits Are Calculated

       56.    As discussed above, to compare the value of two benefit options offered to a

plan participant at the time she begins collecting benefits, it is necessary to determine the


                                             18
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present value of the aggregate (i.e., total) future benefits that the participant (and, if

applicable, the beneficiary) is expected to receive under each form using actuarial

assumptions that are reasonable as of that date. There are two main components of these

present value calculations: (1) an interest rate; and (2) the mortality table applied to

participants and beneficiaries.

       57.       An interest rate is used to determine the present value of each future payment.

This is based on the time value of money, meaning that money available now is worth more

than the same amount in the future due to the ability to earn investment returns. The rate

is often called a “discount rate” because it discounts the value of a future payment. Berger

v. Xerox Corp. Retirement Income Guar. Plan, 338 F.3d 755, 759 (7th Cir. 2003). (“A

discount rate is simply an interest rate used to shrink a future value to its present

equivalent.”).

       58.       The interest rate used by a defined benefit plan to calculate present value

must be reasonable based on prevailing market conditions, which “reflect anticipated

events.” See 29 U.S.C. § 1002(27). The interest rate may be broken into segments of short-

term, medium-term and long-term expectations pertaining to each future payment. See,

e.g., ERISA §§ 205(g)(3)(B)(iii) and 303(h)(2), 29 U.S.C. §§ 1055(g)(3)(B)(iii) and

1083(h)(2).




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       59.     As alleged above, pursuant to para. 3.6 of ASOP No. 27, 7 “each economic

assumption used by an actuary should be reasonable.” 8 An assumption is deemed

“reasonable” if it “reflects the actuary’s professional judgment,” “takes into account

historical and current economic data that is relevant as of the measurement date,” and

“reflects the actuary’s estimate of future experience.” See ASOP No. 27, Para. 3.6 (emphasis

in original). The Treasury Interest Rates are reasonable because they are updated to reflect

current economic conditions.

       60.     A mortality table is a series of rates which predict how many people at a

given age will die before attaining the next higher age.

       61.     More recent mortality tables are “two-dimensional” in that the rates are based

not only on the age of the individual but the year of birth. The SOA, an independent

actuarial group, publishes the mortality tables that are the most widely used by defined

benefit plans when doing these conversions. The SOA published mortality tables in 1971

(the “1971 GAM”), 1976 (the “UP 1984”), 1983 (the “1983 GAM”), 1994 (the “1994

GAR”), 2000 (the “RP-2000”), 2014 (“RP-2014”), and 2019 (the “Pri-2012”) to account

for changes to the population’s mortality experience.

       62.     Since at least the 1980s, the life expectancies in mortality tables have been

on an upward trend as shown below:




7
       Courts look to professional actuarial standards as part of this analysis. See, e.g. Stephens,
644 F.3d at 440 (citing Schwartzmann & Garfield).
8
      Available at: https://www.actuarialstandardsboard.org/asops/selection-economic-
assumptions-measuring-pension-obligations/ (last accessed on January 21, 2020).
                                                 20
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Source: Aon Hewitt, Society of Actuaries Finalizes New Mortality Assumptions: The

Financial and Strategic Implication for Pension Plan Sponsors (November 2014), at 1. 9

According to this paper, there have been “increasing life expectancies over time” and just

moving from the 2000 mortality table to the 2014 table would increase pension liabilities

by 7%.

       63.    Pursuant to para. 3.5.3 of ASOP 35, 10 actuarial tables must be adjusted on an

ongoing basis to reflect improvements in mortality. 11

       64.    Accordingly, in the years between the publication of a new mortality table,

mortality rates are “projected” to future years to account for expected improvements in

mortality. For example, in 2017, the Treasury Mortality Table was the RP-2000 mortality



9
       Life expectancies with a projection scale assume a generational projection of future
mortality improvements (i.e., life expectancies increase with year of birth).
10
       See n. 9, supra.
11
      See http://www.actuarialstandardsboard.org/asops/selection-of-demographic-and-other-
noneconomic-assumptions-for-measuring-pension-obligations/#353-mortality-and-mortality-
improvement (last accessed on January 21, 2020).
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table adjusted for mortality improvement using Projection Scale AA to reflect the impact

of expected improvements in mortality. IRS Notice 2016-50. 12 In 2018, the Treasury

Mortality Table was the RP-2014 mortality table projected to account for additional

improvement in mortality rates that have occurred since 2014. IRS Notice 2017-60. 13

       65.    For purposes of the present value analysis under ERISA, the mortality table

must be updated and reasonable “to reflect anticipated events.” 29 U.S.C § 1002 (27). The

Treasury Mortality Tables are updated and reasonable. See 26 C.F.R. § 1.417(a)(3)-

1(c)(2)(iv). Accordingly, the Treasury Assumptions are reasonable.

       66.    Using a reasonable interest rate and mortality table, the present values of the

SLA and the other forms of benefit can be compared to determine whether those forms of

benefit are actuarially equivalent to the SLA. Plans must use reasonable interest rates and

mortality tables to evaluate whether the present values of benefit options produce

equivalent benefits for participants and beneficiaries.

       B.     The Actuarial Assumptions That UPS Uses to Calculate the Plans’
              Liabilities Are Significantly Different Than Those Used to Calculate
              JSAs

              1.     UPS Uses Updated Actuarial Assumptions to Calculate Its Financial
                     Obligations to Pay Benefits

       67.    For purposes of its filings with the U.S. Securities and Exchange

Commission (“SEC”), UPS uses reasonable, current mortality assumptions to calculate the

present value of its benefit obligations under the Plans. Specifically, UPS’s audited



12
       See https://www.irs.gov/pub/irs-drop/n-16-50.pdf.
13
       See https://www.irs.gov/pub/irs-drop/n-17-60.pdf.
                                              22
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financial statements are prepared in accordance with the Generally Accepted Accounting

Principles (“GAAP”), pursuant to which, mortality assumptions must reflect the best

estimate for that assumption as of the current measurement date. This principle regarding

the mortality assumptions used by defined benefit plans was stated in a publication by

Deloitte & Touche LLP (“Deloitte”), the Company’s auditor: 14

              This publication highlights some of the important accounting
              considerations related to the calculations and disclosures entities
              provide under U.S. GAAP in connection with their defined benefit
              pension and other postretirement benefit plans.

                                                   ***

              Mortality Assumption

              …Frequently, actuaries recommend published tables that reflect
              broad-based studies of mortality. Under ASC 15 715-30 and ASC 715-
              60, each assumption should represent the “best estimate” for that
              assumption as of the current measurement date. Entities should
              consider whether the mortality tables used and adjustments made
              (e.g., for longevity improvements) are appropriate for the employee
              base covered under the plan. (Emphasis added.) … 16

       68.    For example, UPS advised in its annual report on Form 10-k for the fiscal

year ending December 31, 2014 (the “2014 Form 10-k”), that the Company employed the

most recently published mortality tables at that time, namely the (RP-2014), and an updated

improvement scale, to calculate its pension and other postretirement obligations,




14
      Among other things, Deloitte prepares the annual Report of Independent Registered Public
Accounting Firm for purposes of UPS’s filings with the SEC.
15
       “ASC” is an acronym for Accounting Standards Codification.
16
       Deloitte, Financial Reporting Considerations Related to Pension and Other Postretirement
Benefits, Financial Reporting Alert 19-2, November 1, 2019 at 1, 4-5.
                                              23
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recognizing the well-documented improvements to mortality. In particular, UPS’s 2014

Form 10-k provides:

            NOTE 1. SUMMARY OF ACCOUNTING POLICIES

            Pension and Postretirement Benefits

            We incur certain employment-related expenses associated with
            pension and postretirement medical benefits. These pension and
            postretirement medical benefit costs for company-sponsored benefit
            plans are calculated using various actuarial assumptions and
            methodologies, including discount rates, expected returns on plan
            assets, healthcare cost trend rates, inflation, compensation increase
            rates, mortality rates, and other factors. Actuarial assumptions are
            reviewed on an annual basis, unless circumstances require an
            interim remeasurement date for any of our plans. (Emphases added.)

                                      *        *    *

            NOTE 4. COMPANY-SPONSORED EMPLOYEE BENEFIT
            PLANS

            Actuarial Assumptions

            Society of Actuaries[] (“SOA”) published mortality tables and
            improvement scales are used in developing the best estimate of
            mortality for plans in the U.S. On October 27, 2014, the SOA
            published updated mortality tables and an updated improvement scale,
            both of which reflect longer anticipated lifetimes. Based on an
            evaluation of these new tables and our perspective of future
            longevity, we updated the mortality assumptions for purposes of
            measuring pension and other postretirement benefit obligations at
            December 31, 2014. The change to the mortality assumption
            increased the year-end pension and other postretirement benefit
            obligations by $1.119 billion and $51 million, respectively. At
            December 31, 2014, we also revised the retirement assumptions for
            non-union plan participants based on recent retirement experience.
            The change to the retirement assumption decreased the year-end




                                          24
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              pension and other postretirement benefit obligations by $383 and
              $234 million, respectively. 17 (Emphasis added.)

       69.     Throughout the relevant period, as reported in the Company’s filings with

the SEC, UPS has consistently reviewed and updated the mortality assumptions it uses to

calculate the present value of its benefit obligations. For example, the Company’s Form

10-k for the fiscal year ending December 31, 2015 provides that, “[a]ctuarial assumptions

are reviewed on an annual basis, unless circumstances require an interim remeasurement

date for any of our plans.” (Emphasis added). The following year, UPS likewise reported

in its Form 10-k for the fiscal year ended December 31, 2016 that, “[a]ctuarial assumptions

are reviewed on an annual basis, unless circumstances require an interim remeasurement

date for any of our plans.” (Emphasis added). In its most recent available Form 10-k, for

the fiscal year ended December 31, 2021 (the “2021 Form 10-k”), the Company again

advised that in light of the SOA’s publication of a new mortality improvement scale, it

“updated the mortality assumptions,” to compute its pension and other post retirement

obligations based on the SOA’s publication of a new mortality improvement scale. 18

       70.    UPS’s methodology to determine the discount rate used to determine the

actuarial present value of benefits accrued under the Plans is also consistent with ASOP 27

and reflects current economic conditions. UPS uses a “bond matching approach to select



17
        See UPS’s Form 10-k for the year ending December 31, 2014 at 75, available at:
https://www.sec.gov/Archives/edgar/data/1090727/000109072715000008/ups-
12312014x10k.htm
18
         See UPS Form 10-k for year ending December 31, 2021 at 78, available at:
https://investors.ups.com/sec-filings/all-sec-filings?form_type=10-K&year=

                                              25
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specific bonds that would satisfy [its] projected benefit payments,” which UPS

“believe[s]…reflects the process [it] would employ to settle” its pension obligations under

the Plans (noting that “[t]hese assumptions are updated each measurement date, which is

typically annually”). 19 The discount rates UPS used to calculate the actuarial present value

of the Plans’ liabilities since 2012 are shown in the chart below. 20

                                Year               Discount Rate
                                2012                   4.42%
                                2013                   5.32%
                                2014                   4.40%
                                2015                   4.86%
                                2016                   4.41%
                                2017                   3.84%
                                2018                   4.50%
                                2019                   3.60%
                                2020                   2.90%
                                2021                   3.13%

       71.    The discount rates that UPS used based on its “bond matching approach”

were consistent with similarly sized companies’ discount rates and consistent with the

FTSE Pension Liability Index and the Mercer Yield Curve, which are widely used in the

pension industry and would have been reasonable discount rates to use when determining

JSA benefits under the Plans.




19
       See, e.g., UPS’s Form 10-k for the year ending December 31, 2021 at 75.
20
       See n. 17 and n. 18, supra, at 74 and 82, respectively; see also UPS’s Form 10-k for the
year ending December 31, 2013 at 74.
                                              26
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       72.    UPS updates the mortality assumptions used in its financial statements to

predict for its shareholders the potential costs associated with the Plans based on the SOA’s

publications. For its participants in those Plans, however, UPS continues to convert SLAs

to other forms of benefits using outdated and otherwise flawed mortality assumptions.

              2.     The Plans Use Unreasonable Assumptions to Calculate JSAs, Reducing
                     Participants’ Benefits in Violation of ERISA.

       73.    Throughout the relevant period, UPS used:

              a.     The 1983 GAM/6% to calculate the JSAs and QPSAs under the Plans;

              b.     The 1983 GAM/6% or the UP-84/7% to calculate the JSAs for

Grandfathered Overnite Participants; and

              c.     The 1983 GAM/6% or the UP-84/8% to calculate JSAs for

Grandfathered Motor Cargo Participants.

       74.    Defendants’ use of these actuarial assumptions was unreasonable because the

mortality tables are each outdated and do not “reflect anticipated events” (i.e., the

anticipated mortality rates of participants). The 1983 GAM table uses the mortality rates

of people who had already retired by 1966, with “projected additional mortality

improvements to 1983 based on 1966 trends…” Emily K. Kessler, Turning the Tables:

Mortality Tables Should Reflect Improving Mortality, Society of Actuaries’ Pension

Section News, Jan. 2006 – Issue No. 60, at 1 (“Kessler”). Accordingly, it was not

developed from a population that “has characteristics that are typical of the plan’s

participants.” McDaniel v. Chevron Corp., 203 F.3d 1099, 1110 (9th Cir. 2000) (citing




                                             27
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Fellers & Jackson at 456); see also Kessler at 2 (stating in 2006 that “most of [the

population used to construct the 1983 GAM table] are probably dead.”).

         75.   The 1983 GAM table that UPS uses to calculate participants’ benefits is

based on data from over 50 years ago, and as such, it overstates mortality rates. Under the

1983 GAM table, a 65-year-old male has an average life expectancy of 16.7 years and a

65-year-old female has an average life expectancy of 21.3 years. Using the RP-2014,

however, a 65-year-old male has a life expectancy of 21.6 years, a 27.5% increase, and

females have a life expectancy of 23.8 years, an 11.7% increase. Accordingly, the average

retiring employee would be expected to receive, and the average employer would be

expected to pay, benefits for a substantially longer period of time than in the 1983 GAM

table.

         76.   Defendants exacerbated the differences between mortality rates in the 1983

GAM table and today by using a male-only table for participants, which does not account

for males’ greater improvements in mortality over the past 40 years relative to females.

         77.   As an example of Defendants’ biased approach to actuarial equivalence

computations, both the Pension Plan and the Retirement Plan use the all-male 1983 GAM

mortality table to estimate the life expectancies of participants and the all-female 1983

GAM mortality table to estimate beneficiaries’ life expectancies. In other words, the

calculations are based on the assumption that all participants are male, and all beneficiaries

are female. This assumption causes JSA benefits under the Plan to be even lower, because

mortality rates for women are lower than those for men, and there was an even greater

disparity 40 years ago when the 1983 GAM table was published. Kessler at 4 (“Male

                                             28
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mortality has improved significantly” since the 1983 GAM table was published). This

unreasonable demographic assumption, accordingly, exacerbates the injury caused by

using the antiquated 1983 GAM table.

      78.    The demographic assumption is clearly flawed; numerous Plan participants

are female and numerous beneficiaries are men. For instance, Youngermann, a Pension

Plan participant, is a female, while her husband, a Pension Plan beneficiary, is a male.

Likewise, Richards, a Retirement Plan participant is a female, while her husband, a

Retirement Plan beneficiary, is a male. Consequently, among other things, Defendants

have failed to use the appropriate gender-related factors for purposes of the actuarial

equivalence calculation.

      79.    Defendants’ use of the UP-84 table to calculate JSAs for Grandfathered

Motor Cargo Participants and Grandfathered Overnite Participants is similarly

unreasonable because it is antiquated and overstates mortality rates compared to

contemporary mortality tables. The UP-84 table is even more out-of-date than the 1983

GAM as it was published in 1976 and was based on data from the 1960s.

      80.    Defendants failed to provide JSAs that were actuarially equivalent to the

SLA that participants were entitled to receive when they retired as required by ERISA §

205(d), 29 U.S.C. § 1055(d).       By using outdated or otherwise flawed mortality

assumptions, Defendants have materially reduced the monthly benefits that participants

and beneficiaries under the Plans receive in comparison to the monthly benefits they would

receive if Defendants applied updated, reasonable mortality assumptions. Moreover,

Defendants’ use of unreasonable, excessive actuarial reductions has caused many Plan

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participants, including Plaintiff Braxton, to forfeit part of their accrued benefits in violation

of ERISA § 203(a), 29 U.S.C. § 1053(a).

              3.      Defendants Knew the Assumptions Used to Calculate JSA
                      Benefits Were Antiquated and Did Not Reflect the Actual
                      Experience of Participants.

       81.    During all relevant times, Defendants knew or should have known that the

male-only 1983 GAM table and the UP-84 tables employed for the actuarial equivalence

calculations under the Plans were unreasonable, and that using them produced lower

monthly benefits for participants and beneficiaries receiving JSAs calculated using

formulas based on these antiquated mortality tables.

       82.    In 2013, UPS used the RP-2000 — the most up-to-date mortality table at the

time — to calculate its pension liabilities, based on an experience study it conducted

regarding the specific mortality experience of the Plans’ participants and beneficiaries.

Thereafter, UPS began using the RP-2014, an even more modern mortality table,

immediately after it was published by the SOA in 2014, to calculate its liabilities under the

Plans. Then, in 2015 — before several Plaintiffs had begun collecting benefits — Willis

Towers Watson (“WTW”), the actuary for the Plans, emailed UPS highlighting the

Retirement Plan’s outdated mortality assumptions. WTW stated that by updating the

mortality table from the 1983 GAM to the RP-2014, it would increase the Retirement

Plan’s Projected Benefit Obligations (“PBO”) by $350 million or 2.2% of the PBO for

participants who have not yet commenced payment. WTW noted that the impact would be

lower if the plan also updated its 6% interest rate assumption, but maintained that changing

the mortality assumption to mirror what UPS was using to value its plan liabilities in its

                                               30
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10-k reports would still significantly increase the value of JSA benefits even if that change

was coupled with a lower interest rate assumption.

       83.    Several years later, in 2018, WTW provided the Company with the results of

a new mortality experience study based on the “actual mortality experience” of Retirement

Plan participants from 2013 – 2017 and concluded that their actual mortality rates closely

tracked (and were even slightly better) than those in the RP-2014 mortality table that UPS

had been using on WTW’s advice. Still, UPS did not update the actuarial assumptions

used to calculate JSA benefits under the Plans.

       84.    As alleged above, contrary to the biased and unreasonable methodologies

employed to compute JSA and QPSA benefits under the Plans, UPS used updated mortality

tables in its financial statements at all relevant times. Specifically, in its audited financial

statements, UPS used reasonable actuarial assumptions to report a greater liability for

benefits than it was paying out using the unreasonable, male-only 1983 GAM/6%, UP-

84/7% and UP-84/8%. There was and is no reasonable justification for Defendants to use

old mortality tables that presume an earlier death and an earlier end to benefit payments to

calculate unfairly low benefits for participants, while at the same time using reasonable,

contemporary mortality tables to project a longer duration of these very same benefit

payments for annual financial reporting.

       85.    Since these two analyses measure the length of the very same lives and the

very same benefit streams, they should use the same mortality assumptions. “ERISA did

not leave plans free to choose their own methodology for determining the actuarial

equivalent of the accrued benefit . . . ‘If plans were free to determine their own assumptions

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and methodology, they could effectively eviscerate the protections provided by ERISA’s

requirement of actuarial equivalence.’” Laurent v. PriceWaterhouseCoopers LLP, 794

F.3d 272 (2d Cir. 2015) quoting, Esden v. Bank of Boston, 229 F.3d 154, 164 (2d Cir.

2000).

         86.   Defendants also have continued to use these antiquated mortality

assumptions despite using the reasonable Treasury Assumptions to convert participants’

Portable Accounts to SLAs in the Retirement Plan.

         87.   Further, UPS uses a more modern definition of “actuarial equivalence” when

calculating JSAs in another defined benefit plan that it sponsors: the “UPS/IBT Full-Time

Employee Pension Plan.” In that plan, UPS uses a 6% interest rate and the RP-2000

Mortality Table, adjusted for improvements through 2010.

         88.   Had the Plans used reasonable actuarial assumptions, such as the Treasury

Assumptions or the Treasury Mortality Table and the discount rate UPS uses in its Form

10-k, Plaintiffs and the Class would have received, and would continue to receive,

actuarially equivalent benefits that are greater than the benefits they currently receive.

         89.   For example, Plaintiff Timothy Brown started collecting benefits at age 55

with an accrued SLA of $3,301.35 per month. He selected a 100% JSA, which pays

$2,816.38 a month. If reasonable, up-to-date assumptions had been applied when Mr.

Brown retired, his benefit would be higher. For example, using the Treasury Mortality

Table (weighted 50% male) that was current when he retired and 5.32%, the discount rate

that UPS used in its 2013 Form 10-k to measure its pension liabilities, Mr. Brown’s benefit

should have been $2,997.38, which is $181 or approximately 6.5% more per month. By

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reason of the use of the 1983 GAM/6% instead of reasonable, up-to-date assumptions, Mr.

Brown suffered past damages (without interest) of $13,575 and the present value of his

future damages is $35,653.70 for a total of $49,228.70.

       90.    In another example, Plaintiff Ronnie Suveg started collecting benefits when

he was 61 years and 10 months old with an accrued SLA of $2,494.22. He selected a 75%

JSA, which pays $2,070.95 a month. If reasonable, up-to-date assumptions had been

applied when Mr. Suveg retired, his benefit would be $2,184.15, which is $113.20 or

approximately 5.5% more per month. By reason of the use of the 1983 GAM/6% instead

of reasonable, up-to-date assumptions, Mr. Suveg suffered past damages (without interest)

of $7,371 and the present value of his future damages is $20,303.84 for a total of

$27,674.84.

       91.    Likewise, Plaintiff Joseph Bobertz started collecting benefits when he was

62 years and 7 months old with an accrued SLA of $4,313.33. He selected a 50% JSA,

which pays $3,838.86 a month. If reasonable, up-to-date assumptions had been applied

when Mr. Bobetz retired, his benefit would be $3,970.52, which is $131.66 or

approximately 3.5% more per month. By reason of the use of the 1983 GAM/6% instead

of reasonable, up-to-date assumptions, Mr. Bobertz suffered past damages (without

interest) of $3,554.82 and the present value of his future damages is $23,211.78 for a total

of $26,766.60.

       92.    Plaintiff Clifford Potters started collecting benefits when he was 57 years and

8 months old with an accrued SLA of $3,160.12. He selected a 100% JSA, which pays

$2,639.33 a month. If reasonable, up-to-date assumptions had been applied when Mr.

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Potters retired, his benefit would be $2,792.17, which is $152.84 or approximately 6%

more per month. By reason of the use of the 1983 GAM/6% instead of reasonable, up-to-

date assumptions, Mr. Potters suffered past damages (without interest) of $3,668.16 and

the present value of his future damages is $31,260.09 for a total of $34,928.25.

       93.    Plaintiff Stacey Richards started collecting benefits when she was 55 years

and 5 months old with an accrued SLA of $3,335.69. She selected a 50% JSA, which pays

$2,951.08 a month. If reasonable up-to-date assumptions had been applied when Mrs.

Richards retired, her benefit would be $3,003.26, which is $52.18 more per month. By

reason of the use of the 1983 GAM/6% instead of reasonable, up-to-date assumptions, Mrs.

Richards suffered past damages (without interest) of $1,408.86 and the present value of her

future damages is $10,826.20 for a total of $12,235.06.

       94.    Plaintiff Warren Washburn started collecting benefits when he was 55 years

old with an accrued SLA of $1,804.90. He selected a 50% JSA, which pays $1,645.17 a

month. If reasonable up-to-date assumptions had been applied when Mr. Washburn retired,

his benefit would be $1,698.12, which is $52.95 more per month. By reason of the use of

the 1983 GAM/6% instead of reasonable, up-to-date assumptions, Mr. Washbrun suffered

past damages (without interest) of $529.50 and the present value of his future damages is

$10,739.26 for a total of $11,268.76.

       95.    Plaintiff Nancy Youngermann started collecting benefits when she was 62

years and 6 months old with an accrued SLA of $2,100.00. She selected a 75% JSA, which

pays $1,728.09 a month. If reasonable, up-to-date assumptions had been applied when

Mrs. Youngermann retired, her benefit would be $1,828.43, which is $100.34 more per

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      month. By reason of the use of the 1983 GAM/6% instead of reasonable, up-to-date

      assumptions, Mrs. Youngermann suffered past damages (without interest) of $6,020.40 and

      the present value of her future damages is $17,635.34 for a total of $23,655.74.

             96.    Plaintiff John Braxton started collecting benefits when he was 65 years old

      with an accrued SLA of $443.67. He selected a 50% JSA, which pays $390.43 a month.

      If reasonable, up-to-date assumptions had been applied when Mr. Braxton retired, his

      benefit would be $408.20, which is $17.77 more per month. By reason of the use of the

      1983 GAM/6% instead of reasonable, up-to-date assumptions, Mr. Braxton suffered past

      damages (without interest) of $1,403.83 and the present value of his future damages is

      $2,553.21 for a total of $3,957.94.

             97.    The chart below summarizes Plaintiffs’ losses due to Defendants’ use of

      unreasonable actuarial assumptions when calculating their benefits:
           Brown     Suveg     Bobertz Potters      Richards Washburn Youngermann Braxton
Monthly    $181      $113      $131    $152         $52      $52      $100        $17
Shortfall
Past      $13,575 $7,371 $3,554 $3,668 $1,408               $529          $6,020           $1,403
Damages
(without
interest)
Present   $35,653 $20,303 $23,211 $31,260 $10,826 $10,739                 $17,635          $2,553
Value of
Future
Damages
            98.   Because the Plans used unreasonable, grossly outdated, or otherwise flawed

      actuarial assumptions throughout the Class Period, the benefits paid to participants and

      beneficiaries who receive JSAs are not actuarially equivalent to the SLAs they earned as

      of their benefit commencements dates in violation of ERISA §§ 205 and 204(c)(3), 29


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U.S.C. §§ 1055 and 1054(c)(3). Rather, the benefits payable under these forms are much

lower than they should be

       99.     Plaintiffs are participants in the Plans who are receiving benefits calculated

on their benefit commencement dates using the 1983 GAM/6%. Because their benefits

were calculated using outdated, unreasonable mortality tables, Plaintiffs have been harmed

because they have been receiving less each month than they would have been receiving if

reasonable, up-to-date actuarial assumptions had been used. Plaintiffs, along with other

class members, have been substantially damaged as a result of receiving benefits below an

actuarially equivalent amount.

       100.    Plaintiffs exhausted all administrative remedies under the Plans by filing

claims in accordance with the Retirement and Pension Plan Documents. Claims were

submitted in September 2020 and the claim and review process finished in February 2022

when the Retirement Plan Committee and Board of Trustees denied the appeals filed by

Plaintiffs pursuant to the terms of the Plans.

                            CLASS ACTION ALLEGATIONS

       101.    Plaintiffs bring this action as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure on behalf of themselves and the class (the “Class”) defined as

follows:

               All participants in and beneficiaries of the Plans who began
               receiving a JSA or QPSA after January 1, 2013 that was
               calculated using: (1) the 1983 GAM/6%; (2) the UP-84/7%; or
               (3) the UP-84/8%. Excluded from the Class are Defendants and
               any individuals who are subsequently to be determined to be
               fiduciaries of the Plans.


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       102.    The members of the Class are so numerous that joinder of all members is

impractical.   Upon information and belief, the Class includes thousands of persons.

According to the most recent Forms 5500, the Retirement Plan and the Pension Plan had

46,425 and 21,172 participants receiving payment at the end of 2020, respectively.

       103.    Plaintiffs’ claims are typical of the claims of the members of the Class

because Plaintiffs’ claims and the claims of all Class members arise out of the same policies

and practices as alleged herein, and all members of the Class are similarly affected by

Defendants’ wrongful conduct.

       104.    There are questions of law and fact common to the Class and these questions

predominate over questions affecting only individual Class members. Common legal and

factual questions include, but are not limited to:

               A.    Whether the Plans’ existing formulae for calculating JSAs and QPSAs

                     provide benefits that are actuarially equivalent to SLAs;

               B.    Whether the Plans’ actuarial assumptions are reasonable;

               C.    Whether Plaintiffs and Class members should have their benefits

                     recalculated to conform with ERISA’s actuarial equivalence

                     requirements; and

               D.    Whether Plaintiffs and Class members should receive payments to

                     compensate them for past and future benefit payments that did not and

                     will not satisfy ERISA’s actuarial equivalence requirements.

       105.    Plaintiffs will fairly and adequately represent the Class and have retained

counsel experienced and competent in the prosecution of ERISA class actions. Plaintiffs

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have no interests antagonistic to those of other members of the Class. Plaintiffs are

committed to the vigorous prosecution of this action and anticipate no difficulty in the

management of this litigation as a class action.

       106.    This action may be properly certified under either subsection of Federal Rule

of Civil Procedure 23(b)(1). Class action status is warranted under Rule 23(b)(1)(A)

because prosecution of separate actions by the members of the Class would create a risk of

establishing incompatible standards of conduct for Defendants. Class action status also is

warranted under Rule 23(b)(1)(B) because prosecution of separate actions by the members

of the Class would create a risk of adjudications with respect to individual members of the

Class that, as a practical matter, would be dispositive of the interests of other members not

parties to this action, or that would substantially impair or impede their ability to protect

their interests.

       107.    In the alternative, certification under Rule 23(b)(2) is warranted because

Defendants have acted or refused to act on grounds generally applicable to the Class,

thereby making appropriate final injunctive, declaratory, or other appropriate equitable

relief with respect to the Class as a whole.

       108.    If the Class is not certified under Rule 23(b)(1) or (b)(2), then certification

under Rule 23(b)(3) is appropriate because the questions of law or fact common to the

members of the Class predominate over any questions affecting only individual members,

and a class action is superior to other available methods for the fair and efficient

adjudication of the controversy.



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                             FIRST CLAIM FOR RELIEF
                            Declaratory and Equitable Relief
                        (ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3))

       109.     Plaintiffs re-allege and incorporate by reference all prior allegations in this

Complaint.

       110.     Defendants have improperly reduced JSAs for participants and beneficiaries

of the Plans below the amounts that they would receive if those benefits were actuarially

equivalent to an SLA, as ERISA requires. See ERISA §§ 205(d)(1) and 204(c)(3), 29

U.S.C. § 1055(d)(1) and 29 U.S.C. § 1054(c)(3).

       111.     ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or

beneficiary to bring a civil action to: “(A) enjoin any act or practice which violates any

provision of this title or the terms of the plan, or (B) to obtain other appropriate equitable

relief (i) to redress such violations or (ii) to enforce any provisions of this title or the terms

of the plan.”

       112.     Pursuant to this provision, 28 U.S.C. §§ 2201 and 2202, and Federal Rule of

Civil Procedure 57, Plaintiffs seek declaratory relief, determining that the methodologies

used by Defendants for calculating the actuarial equivalence of JSAs and QPSAs violate

ERISA because they do not provide an actuarially equivalent benefit, as required by ERISA

§§ 205(d)(1) and 204(c)(3), 29 U.S.C. § 1055(d)(1) and 29 U.S.C. § 1054(c)(3). Moreover,

Defendants have also caused some Class members, including Plaintiff Braxton, to forfeit

part of their accrued benefit in violation of ERISA § 203(a), 29 U.S.C. § 1053(a).

       113.     Plaintiffs further seek an order from the Court providing a full range of

equitable relief, including but not limited to:

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                (a)    re-calculation, correction, and payment of JSA and QPSA benefits

previously paid under the Plans;

                (b)    an “accounting” of all prior benefits and payments;

                (c)    equitable surcharge;

                (d)    disgorgement of amounts wrongfully withheld;

                (e)    disgorgement of profits earned on amounts wrongfully withheld;

                (f)    a constructive trust;

                (g)    an equitable lien;

                (h)    an injunction against further violations; and

                (i)    other relief the Court deems just and proper.

                           SECOND CLAIM FOR RELIEF
                               Breach of Fiduciary Duty
              (ERISA §§ 404 and 502(a)(3), 29 U.S.C. §§ 1104 and 1132(a)(3))

       114.     Plaintiffs re-allege and incorporate by reference all prior allegations in this

Complaint.

       115.     The Retirement Plan Committee and Board of Trustees are named fiduciaries

of the Plans.

       116.     ERISA treats as fiduciaries not only persons explicitly named as fiduciaries

under § 402(a)(1), 29 U.S.C. § 1102(a)(1), but also any other persons who in fact perform

fiduciary functions. Thus, a person is a fiduciary to the extent that person “(i) exercises any

discretionary authority or discretionary control respecting management of such plan or

exercises any authority or control respecting management or disposition of its assets, (ii)

renders investment advice for a fee or other compensation, direct or indirect, with respect

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to any moneys or other property of such plan, or has any authority or responsibility to do

so, or (iii) has any discretionary authority or discretionary responsibility in the

administration of such plan.” ERISA § 3(21)(A), 29 U.S.C. § 1002(21)(A). This is a

functional test. As such, neither “named fiduciary” status, nor formal delegation is required

for a finding of fiduciary status, and contractual agreements, such as the governing Plan

documents, cannot override a finding fiduciary status when the statutory test is met.

       117.   The Retirement Plan Committee and Board of Trustees are fiduciaries for the

Plans because throughout the Class Period they have been named fiduciaries of the Plans,

and/or exercised discretionary authority or control respecting the management of the Plans,

and/or exercised authority or control over the management or disposition of the Plans’

assets, and/or have had discretionary authority or discretionary responsibility in the

administration of the Plans. Among other things, during the Class Period, the Retirement

Plan Committee and Board of Trustees have had authority or control over the determination

of the amount and payment of benefits from the Plans.

       118.   Defendant UPS is a fiduciary of the Plans, within the meaning of ERISA

Section 3(21)(A), 29 U.S.C. § 1002(21)(A), because it has exercised discretionary

authority or control with respect to the management of the Plans, and/or exercised authority

or control over management or disposition of Plans’ assets, and/or has discretionary

authority or discretionary responsibility in the administration of the Plans, including but

not limited to, with respect to its duty to appoint and monitor members of the Retirement

Plan Committee and Board of Trustees.



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       119.   ERISA § 404(a)(1)(D), 29 U.S.C. § 1104(a)(1)(D) requires Defendant-

fiduciaries to discharge their duties with respect to the Plans “in accordance with the

documents and instruments governing the plan[s] insofar as such documents and plan

instruments are consistent with” ERISA.

       120.   The Plans are not consistent with ERISA because they use the all-male 1983

GAM/6%, UP-84/7%, and UP-84/8% to calculate benefits. As a result, the Plans’

calculation of JSA benefits are not actuarially equivalent, resulting in participants and

beneficiaries losing vested benefits in violation of ERISA.

       121.   Here, the Defendants breached their fiduciary duties by following the Plan

terms which violate ERISA because those terms result in participants receiving less than

the actuarial equivalent of their vested accrued benefits.

       122.   ERISA further imposes on fiduciaries that appoint other fiduciaries the duty

to monitor the actions of those appointed fiduciaries to ensure compliance with ERISA. In

allowing the Committees to pay benefits that were not actuarially equivalent in violation

of ERISA, Defendant UPS breached its fiduciary duty to supervise and monitor the

Committees.

       123.   As a direct and proximate result of the Defendants’ fiduciary breaches,

participants in the Plans have lost, and are continuing to lose, tens of millions of dollars in

vested accrued pension benefits.

       124.   UPS and the Retirement Committee are jointly liable for the acts of the other

as co-fiduciaries for the Retirement Plan.



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       125.     UPS and the Board of Trustees are jointly liable for the acts of the other as

co-fiduciaries for the Pension Plan.

       126.     ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes a participant or

beneficiary to bring a civil action to: “(A) enjoin any act or practice which violates any

provision of this title or the terms of the plan, or (B) to obtain other appropriate equitable

relief (i) to redress such violations or (ii) to enforce any provisions of this title or the terms

of the plan.”

       127.     Pursuant to this provision, 28 U.S.C. §§ 2201 and 2202, and Federal Rule of

Civil Procedure 57, Plaintiffs seek declaratory relief, determining that the Plans’

established methodologies for calculating JSAs and QPSAs do not provide actuarially

equivalent benefits because they do not provide benefits with an equal present value.

       128.     Plaintiffs further seek orders from the Court providing a full range of

equitable relief including but not limited to:

                (a)    re-calculation, correction, and payment of actuarially equivalent JSA

and QPSA benefits previously paid under the Plans;

                (b)    an “accounting” of all prior benefits and payments;

                (c)    equitable surcharge;

                (d)    disgorgement of amounts wrongfully withheld;

                (e)    disgorgement of profits earned on amounts wrongfully withheld;

                (f)    a constructive trust;

                (g)    an equitable lien;

                (h)    an injunction against further violations; and

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              (i)     other relief the Court deems just and proper.

                                  PRAYER FOR RELIEF

        WHEREFORE, Plaintiffs pray that judgment be entered against Defendants on all

claims and request that the Court award the following relief:

        A.    Certify this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure;

        B.    Declare that the Plans have failed and continue to fail to properly calculate

and pay JSA benefits that are actuarially equivalent to the SLA, in violation of ERISA;

        C.    Order Defendants to correct and recalculate JSA and QPSA benefits that

have been paid under the Plans;

        D.    Order Defendants to provide an “accounting” of all prior payments of JSA

and QPSA benefits under the Plans to determine the proper amounts that should have been

paid;

        E.    Order Defendants to pay all benefits improperly withheld, including under

the theories of equitable surcharge and disgorgement;

        F.    Order Defendants to disgorge any profits earned on amounts improperly

withheld;

        G.    Impose of a constructive trust;

        H.    Impose of an equitable lien;

        I.    Order Defendants to pay future benefits in accordance with ERISA’s

actuarial equivalence requirements;



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      J.        Award, declare, or otherwise provide Plaintiffs and the Class all relief under

ERISA § 502(a), 29 U.S.C. § 1132(a), or any other applicable law, that the Court deems

proper;

      K.        Award to Plaintiffs’ counsel attorneys’ fees and expenses as provided by the

common fund doctrine, ERISA § 502(g), 29 U.S.C. § 1132(g), and/or other applicable

doctrine; and

      L.        Any other relief or remedy the Court determines is just and proper.



Dated: April 27, 2022.                          Respectfully submitted,

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